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                              ,1 7+( 81,7(' 67$7(6 ',675,&7 &2857
                                  )25 7+( ',675,&7 2) &2/25$'2


   &LYLO $FWLRQ 1R




            3ODLQWLII V 

   Y




            'HIHQGDQW V 



                                         6&+('8/,1* 25'(5

                                          '$7( 2)
                                        &21)(5(1&(
                            $1' $33($5$1&(6 2) &2816(/ $1' 352 6(
                                          3$57,(6

           [Provide the date of the conference and the names, addresses, and telephone numbers
    of counsel for each party and each pro se party. Identify by name the party represented by each
    counsel.]




                                            67$7(0(17 2)
                                             -85,6',&7,21

          [Provide a concise statement of the basis for subject matter jurisdiction with
    appropriate statutory citations. If jurisdiction is denied, give the specific reason for the denial.]


                                                      
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                                   67$7(0(17 2) &/$,06 $1'
                                           '()(16(6


      D 3ODLQWLIIV


      E 'HIHQGDQWV


      F 2WKHU3DUWLHV

           [Provide concise statements of all claims or defenses. Each party, in light of formal or
    informal discovery undertaken thus far, should take special care to eliminate frivolous claims
    or defenses. Fed. R. Civ. P. 11 and 16(c)(2)(A). Do not summarize the pleadings.
    Statements such as defendant denies the material allegations of the complaint" are not
    acceptable.]



                                            81',6387('
                                               )$&76

          7KHIROORZLQJIDFWVDUHXQGLVSXWHG


           [When the parties have the Rule 26(f) meeting, they should make a good-faith attempt
    to determine which facts are not in dispute.]



                                         &20387$7,21 2)
                                             '$0$*(6

             [Include a computation of all categories of damages sought and the basis and theory
    for calculating damages. See Fed. R. Civ. P. 26(a)(1)(A)(iii). This should include the claims of
    all parties. It should also include a description of the economic damages, non-economic
    damages, and physical impairment claimed, if any.]


                          5(3257 2) 35(&21)(5(1&( ',6&29(5<
                            $1' 0((7,1* 81'(5 )(' 5 &,9 3  I

                                                   
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           D 'DWHRI5XOH I PHHWLQJ

           E 1DPHV RI HDFK SDUWLFLSDQW DQG SDUW\ KHVKH UHSUHVHQWHG

           F 6WDWHPHQW DV WR ZKHQ 5XOH  D  GLVFORVXUHV ZHUH PDGH RU ZLOO EH PDGH


           [If a party’s disclosures were not made within the time provided in Fed. R. Civ. P.
    26(a)(1)(C) or by the date set by court order, the parties must provide an explanation
    showing good cause for the omission.]

           G 3URSRVHG FKDQJHV LI DQ\ LQ WLPLQJ RU UHTXLUHPHQW RI GLVFORVXUHV XQGHU )HG 5
                 &LY 3  D  


           H 6WDWHPHQW FRQFHUQLQJ DQ\ DJUHHPHQWV WR FRQGXFW LQIRUPDO GLVFRYHU\

            [State what processes the parties have agreed upon to conduct informal discovery,
    such as joint interviews with potential witnesses or joint meetings with clients to discuss
    settlement, or exchanging documents outside of formal discovery. If there is agreement to
    conduct joint interviews with potential witnesses, list the names of such witnesses and a date
    and time for the interview which has been agreed to by the witness, all counsel, and all pro se
    parties.]


           I 6WDWHPHQW FRQFHUQLQJ DQ\ RWKHU DJUHHPHQWV RU SURFHGXUHV WR UHGXFH GLVFRYHU\
              DQG RWKHU OLWLJDWLRQ FRVWV LQFOXGLQJ WKH XVH RI D XQLILHG H[KLELW QXPEHULQJ V\VWHP

             [Counsel and pro se parties are strongly encouraged to cooperate in order to reduce
    the costs of litigation and expedite the just disposition of the case. Discovery and other
    litigation costs may be reduced, for example, through telephone depositions, joint repositories
    for documents, use of discovery in other cases, and extensive use of expert affidavits to
    support judicial notice. Counsel and pro se parties also will be expected to use a unified
    exhibit numbering system if required by the practice standards of the judicial officer presiding
    over the trial of this case. Non-prisoner pro se parties are reminded that e-filing is available as
    one means to reduce expenses – see the Electronic Case Filing page of the Court’s website.]




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              J      6WDWHPHQW DV WR ZKHWKHU WKH SDUWLHV DQWLFLSDWH WKDW WKHLU FODLPV RU GHIHQVHV ZLOO
                      LQYROYH H[WHQVLYH HOHFWURQLFDOO\ VWRUHG LQIRUPDWLRQ RU WKDW D VXEVWDQWLDO DPRXQW
                      RI GLVFORVXUH RU GLVFRYHU\ ZLOO LQYROYH LQIRUPDWLRQ RU UHFRUGV PDLQWDLQHG LQ
                      HOHFWURQLF IRUP

               [In such cases, the parties must indicate what steps they have taken or will take to (I)
       preserve electronically stored information; (ii) facilitate discovery of electronically stored
       information; (iii) limit the associated discovery costs and delay; (iv) avoid discovery disputes
       relating to electronic discovery; and (v) address claims of privilege or of protection as trial-
       preparation materials after production of computer-generated records. Counsel should refer to
       the court’s Electronic Discovery Guidelines and Checklist, available on the court’s website HERE, and
       should describe any proposals or agreements regarding electronic discovery made at the Rule
       26(f) conference and be prepared to discuss issues involving electronic discovery, as
       appropriate, at the Scheduling Conference.]

                [When the parties have their Rule 26(f) meeting, they must discuss any issues relating
       to the disclosure and discovery of electronically stored information, including the form of
       production, and also discuss issues relating to the preservation of electronically stored
       information, communications, and other data. At the Rule 26(f) meeting, the parties should
       make a good faith effort to agree on a mutually acceptable format for production of electronic
       or
       computer-based information. In advance of the Rule 26(f) meeting, counsel carefully
       investigate their client’s information management systems so that they are knowledgeable as
       to its operation, including how information is stored and how it can be retrieved.]

              K      6WDWHPHQW VXPPDUL]LQJ WKH SDUWLHV¶ GLVFXVVLRQV UHJDUGLQJ WKH SRVVLELOLWLHV IRU
                      SURPSWO\ VHWWOLQJ RU UHVROYLQJ WKH FDVH

               [The parties are required by Fed. R. Civ. P. 26(f)(2) to have discussed the possibilities
       for a prompt settlement or resolution of the case by alternate dispute resolution. They must
       also report the result of any such meeting, and any similar future meeting, to the magistrate
       judge within 14 days of the meeting.]


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                                                   &216(17

               [Pursuant to D.C.COLO.LCivR 40.1(c) and 72.2, all full-time magistrate judges in
       the District of Colorado are specially designated under 28 U.S.C. § 636(c)(1) to conduct
       any or all proceedings in any jury or nonjury civil matter and to order the entry of
       judgment. Parties consenting to the exercise of jurisdiction by a magistrate judge must

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       complete and file the court- approved Consent to the Exercise of Jurisdiction by a
       United States Magistrate Judge form.]

              [Indicate below the parties’ consent choice. Upon consent of the parties and an order of
       reference from the district judge, the magistrate judge assigned the case under 28 U.S.C.§
       636(a) and (b) will conduct all proceedings related to the case.]

             $OO SDUWLHV Ƒ >KDYH@      Ƒ   >KDYH QRW@ FRQVHQWHG WR WKH H[HUFLVH RI MXULVGLFWLRQ RI
       D PDJLVWUDWH MXGJH

                                               ',6&29(5<
                                               /,0,7$7,216

               [In the majority of cases, the parties should anticipate that the court will adopt the
       presumptive limitations on depositions established in Fed. R. Civ. P. 30(a)(2)(A)(i) and
       33(a)(1). The parties are expected to engage in pretrial discovery in a responsible manner
       consistent with the spirit and purposes of Fed. R. Civ. P. 1 and 26 through 37. The parties are
       expected to propose discovery limits that are proportional to the needs of the case, the
       amount in controversy, the importance of the issues at stake in the action, and all other scope
       of discovery considerations. See Fed. R. Civ. P. 26(b)(1). The court must limit discovery
       otherwise permitted by the Federal Rules of Civil Procedure if it determines that “(i) the
       discovery sought is unreasonably cumulative or duplicative, or can be obtained from
       some other source that is more convenient, less burdensome, or less expensive; (ii) the
       party seeking discovery has had ample opportunity to obtain the information by
       discovery in the action; or (iii) the proposed discovery is outside the scope permitted by
       Rule 26(b)(1). ” See Fed. R. Civ. P. 26(b)(2)(C).]

              D     0RGLILFDWLRQV ZKLFK DQ\ SDUW\ SURSRVHV WR WKH SUHVXPSWLYH QXPEHUV
                     RI GHSRVLWLRQV RU LQWHUURJDWRULHV FRQWDLQHG LQ WKH )HGHUDO 5XOHV

              [If a party proposes to exceed the numerical limits set forth in Fed. R. Civ. P.
       30(a)(2)(A)(I), at the scheduling conference they should be prepared to support that request
       by reference to the factors identified in Fed. R. Civ. P. 26(b)(2)(C)]


              E    /LPLWDWLRQV ZKLFK DQ\ SDUW\ SURSRVHV RQ WKH OHQJWK RI GHSRVLWLRQV

              F     /LPLWDWLRQVZKLFKDQ\SDUW\SURSRVHVRQWKHQXPEHURIUHTXHVWVIRUSURGXFWLRQ
       DQGRUUHTXHVWVIRUDGPLVVLRQ[If the parties propose more than twenty-five (25) requests for
       production and/or requests for admission, at the scheduling conference they should be
       prepared to support that proposal by reference to the factors identified in Fed. R. Civ. P.
       26(b)(2)(C).]
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              G   'HDGOLQH IRU VHUYLFHRI,QWHUURJDWRULHV5HTXHVWVIRU3URGXFWLRQRI'RFXPHQWV
       DQGRU$GPLVVLRQV

              [The parties are expected to serve interrogatories, requests for production and/or
       requests for admission on opposing counsel or a pro se party on a schedule that allows timely
       responses on or before the discovery cut-off date.]


              H     2WKHU 3ODQQLQJ RU 'LVFRYHU\ 2UGHUV

                 [Set forth any other proposed orders concerning scheduling or discovery. For
       example, the parties may wish to establish specific deadlines for submitting protective orders
       or for filing motions to compel.]

                                       &$6( 3/$1 $1' 6&+('8/(

              D     'HDGOLQH IRU -RLQGHU RI 3DUWLHV DQG $PHQGPHQW RI 3OHDGLQJV

               [Set time period within which to join other parties and to amend all pleadings. This
       deadline refers to timing only and does not eliminate the necessity to file an appropriate
       motion and to otherwise comply with Fed. R. Civ. P. 15. Unless otherwise ordered in a
       particular case, for good cause, this deadline should be no later than 45 days after the date
       of the scheduling conference, so as to minimize the possibility that late amendments and
       joinder of parties will precipitate requests for extensions of discovery cutoff, final pretrial
       conference, and dispositive motion dates. Counsel and pro se parties should plan discovery
       so that discovery designed to identify additional parties or claims is completed before these
       deadlines.]

              E     'LVFRYHU\ &XWRII

              F     'LVSRVLWLYH 0RWLRQ 'HDGOLQH

   [Set time periods in which discovery is to be completed and dispositive motions are to be filed.]


                      G     ([SHUW :LWQHVV 'LVFORVXUH

                                7KH SDUWLHV VKDOO LGHQWLI\ DQWLFLSDWHG ILHOGV RI H[SHUW WHVWLPRQ\ LI
                             DQ\
                                                       
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   




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                                   /LPLWDWLRQV ZKLFK WKH SDUWLHV SURSRVH RQ WKH XVH RU QXPEHU
                              RI H[SHUW ZLWQHVVHV

                                    7KH SDUWLHV VKDOO GHVLJQDWH DOO H[SHUWV DQG SURYLGH RSSRVLQJ
                              FRXQVHO DQG DQ\ SUR VH SDUWLHV ZLWK DOO LQIRUPDWLRQ VSHFLILHG LQ )HG
                              5 &LY 3  D  RQ RU EHIRUH                                 
                              [This includes disclosure of information applicable to “Witnesses
                              Who Must Provide a Written Report” under Rule 26(a)(2)(B) and
                              information applicable to “Witnesses Who Do Not Provide a Written
                              Report” under Rule 26(a)(2)(C).]

                                   7KH SDUWLHV VKDOO GHVLJQDWH DOO UHEXWWDO H[SHUWV DQG SURYLGH
                              RSSRVLQJ FRXQVHO DQG DQ\ SUR VH SDUW\ ZLWK DOO LQIRUPDWLRQ VSHFLILHG
                              LQ )HG 5 &LY 3  D  RQ RU EHIRUH                            
                                      >7KLV LQFOXGHV GLVFORVXUH RI LQIRUPDWLRQ DSSOLFDEOH WR
                              ³:LWQHVVHV :KR 0XVW 3URYLGH D :ULWWHQ 5HSRUW´ XQGHU 5XOH
                               D  % DQG LQIRUPDWLRQ DSSOLFDEOH WR ³:LWQHVVHV :KR 'R 1RW
                              3URYLGH D :ULWWHQ 5HSRUW´ XQGHU 5XOH  D  & @

               [Notwithstanding the provisions of Fed. R. Civ. P. 26(a)(2)(B), no exception to the
       requirements of the Rule will be allowed by stipulation unless the stipulation is in writing and
       approved by the court. In addition to the requirements set forth in Rule 26(a)(2)(B)(I)-(vi), the
       expert’s written report also must identify the principles and methods on which the expert relied
       in support of his/her opinions and describe how the expert applied those principles and
       methods reliably to the facts of the case relevant to the opinions set forth in the written report.]

                      H      ,GHQWLILFDWLRQ RI 3HUVRQV WR %H 'HSRVHG

              [List the names of persons to be deposed and provide a good faith estimate of the
       time needed for each deposition. All depositions must be completed on or before the
       discovery cut- off date and the parties must comply with the notice and scheduling
       requirements set for in D.C.COLO.LCivR 30.1.]



                                 '$7(6 )25 )857+(5 &21)(5(1&(6

             [The magistrate judge will complete this section at the scheduling conference if he or
       she has not already set deadlines by an order filed before the conference.]

       D 6WDWXV FRQIHUHQFHV ZLOO EH KHOG LQ WKLV FDVH DW WKH IROORZLQJ GDWHV DQG WLPHV
                                                        
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       E $ ILQDO SUHWULDO FRQIHUHQFH ZLOO EH KHOG LQ WKLV FDVH RQ BBBBBBBBBBBBDW R¶FORFN BBBBBP
          $ )LQDO 3UHWULDO 2UGHU VKDOO EH SUHSDUHG E\ WKH SDUWLHV DQG VXEPLWWHG WR WKH FRXUW QR ODWHU
          WKDQ VHYHQ  GD\V EHIRUH WKH ILQDO SUHWULDO FRQIHUHQFH


                                      27+(5 6&+('8/,1* 0$77(56

       D ,GHQWLI\ WKRVH GLVFRYHU\ RU VFKHGXOLQJ LVVXHV LI DQ\ RQ ZKLFK FRXQVHO DIWHU D JRRG
          IDLWK HIIRUW ZHUH XQDEOH WR UHDFK DQ DJUHHPHQW


       E $QWLFLSDWHG OHQJWK RI WULDO DQG ZKHWKHU WULDO LV WR WKH FRXUW RU MXU\


       F ,GHQWLI\ SUHWULDO SURFHHGLQJV LI DQ\ WKDW WKH SDUWLHV EHOLHYH PD\ EH PRUH HIILFLHQWO\ RU
          HFRQRPLFDOO\ FRQGXFWHG LQ WKH 'LVWULFW &RXUW¶V IDFLOLWLHV DW  1 :DKVDWFK 6WUHHW
          &RORUDGR 6SULQJV &RORUDGR  :D\QH $VSLQDOO 86 &RXUWKRXVH)HGHUDO
          %XLOGLQJ  5RRG $YHQXH *UDQG -XQFWLRQ &RORUDGR  RU WKH 86
          &RXUWKRXVH)HGHUDO %XLOGLQJ  /D3ODWD&RXQW\&RXUWKRXVH
          (QG$YHQXH6XLWH'XUDQJR &RORUDGR 

               [Determination of any such request will be made by the magistrate judge based on
       the individual needs of the case and the availability of space and security resources.]




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                                127,&( 72 &2816(/ $1' 352 6( 3$57,(6

              [The following paragraphs shall be included in the scheduling order:]

              7KH SDUWLHV ILOLQJ PRWLRQV IRU H[WHQVLRQ RI WLPH RU FRQWLQXDQFHV PXVW FRPSO\ ZLWK
       '&&2/2/&LY5  F E\ VHUYLQJWKHPRWLRQFRQWHPSRUDQHRXVO\ XSRQ WKH PRYLQJ
       DWWRUQH\ V FOLHQW

               &RXQVHO ZLOO EH H[SHFWHG WR EH IDPLOLDU DQG WR FRPSO\ ZLWK WKH 3UHWULDO DQG 7ULDO
       3URFHGXUHV RU 3UDFWLFH 6WDQGDUGV HVWDEOLVKHG E\ WKH MXGLFLDO RIILFHU SUHVLGLQJ RYHU WKH WULDO RI
       WKLV FDVH

              :LWK UHVSHFW WR GLVFRYHU\ GLVSXWHV SDUWLHV PXVW FRPSO\ ZLWK '&&2/2/&LY5  D 

             &RXQVHODQGXQUHSUHVHQWHGSDUWLHVDUHUHPLQGHGWKDWDQ\FKDQJHRIFRQWDFW
       LQIRUPDWLRQPXVWEHUHSRUWHGDQGILOHGZLWKWKH&RXUWSXUVXDQWWRWKHDSSOLFDEOHORFDO
       UXOH

                                  $0(1'0(176 72 6&+('8/,1* 25'(5

              [Include a statement that the scheduling order may be altered or amended
       only upon a showing of good cause.]

       '$7(' DW 'HQYHU &RORUDGR WKLV         GD\ RI                     

                                                             %< 7+( &2857


                                                             8QLWHG 6WDWHV 0DJLVWUDWH -XGJH
       $33529('


       1DPH                                           1DPH

       $GGUHVV                                        $GGUHVV

       7HOHSKRQH 1XPEHU                               7HOHSKRQH 1XPEHU

       $WWRUQH\ IRU 3ODLQWLII RU 3ODLQWLII 3UR 6H   $WWRUQH\ IRU 'HIHQGDQW RU 'HIHQGDQW 3UR 6H
       [Please affix counsels' and any pro se party's signatures before submission of the final
       scheduling order to the court.]

                                                        
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